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                               UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


ARLENE T. OSBORNE, Individually,

                   Plaintiff,

V S.                                                  CASE NO. 6:11-cv-1971-Orl-36KR5

FOURTEEN HUNDRED OFFICE
CONDOMINIUM, INC., a Florida non-profit
corporation,

                   Defendant.

                                               /


                                     AMENDED COMPLAINT
                                    (Injunctive Relief Demanded)
         Plaintiff, ARLENE T. OSBORNE, individually, on her behalf and on behalf of all other

individuals similarly situated (sometimes referred to as "Plaintiff), hereby sues the Defendant,

FOURTEEN HUNDRED OFFICE CONDOMINIUM, INC., a Florida non-profit comoration

(sometimes referred to as "Defendant" or "Association"), for Injunctive Relief, and attorney's

fees, litigation expenses and costs pursuant to the Americans with Disabilities Act, 42 U.S.C.

§12181, et. seq. ("ADA"), and Florida Accessibility Code ("FAC").

         1.        Plaintiff is a seventy-two (72) year old resident of Orange County, Florida.

Plaintiff qualifies as an individual with disabilities as defined by the ADA. As a result of

debilitating arthritis, Plaintiff ambulates with the aid of a prescribed walker or hoveround.

Plaintiff has been issued a handicap decal by the Florida Department of Motor Vehicles for over

ten (10) years.

         2.        Defendant is a commercial Association and the operator of all the common areas

at an office condominium project located at 1400 East Michigan Street in Orange County,


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Florida within the Middle District of Florida. The Association was created by a recorded

Declaration of Condominium in order to act as agent for the related commercial condominium

unit owners for puiposes of operating and maintaining the common areas of the condominium

development. The common areas consist primarily of a parking lot and sidewalk outside of the

entrance doors to the various commercial condominium units.

         3.        The commercial condominium unit owners consist of primarily professional

businesses (e.g. four lawyers' offices, a dentist's office, and an accountant's office).

Additionally, other commercial units are owned by a web design company, an education

specialist, a hair salon and a photographer. Each of the commercial condominium unit owners is

a public accommodation under the ADA. See 42 U.S.C. §12181(7)(F).

         4.        The Association operates and maintains, for the benefit of its related commercial

unit owner members, the real property common areas providing access to the public

accommodations. The Association is also a public accommodation under Title III of the ADA.

The Department of Justice has previously determined that a commercial association responsible

for managing and operating a common area providing access to a professional office building is a

public accommodation within the meaning of Title III of the ADA.

         5.        Venue is properly located in the Middle District of Florida because venue lies in

the judicial district of the property situs. The Defendant's property is located in the Orlando

Division of this judicial district.

         6.        Pursuant to 28 U.S.C. §§1331 and 1343, this Court has been given original

jurisdiction over actions which arise from Defendant's violations of Title III of the Americans

with Disabilities Act, 42 U.S.C. §12181, et. seq. See also 28 U.S.C. §2201 and §2202.




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         7.        On December 6, 2011, Plaintiff visited the commercial condominium

development at issue and plans to return to the property to avail herself of the goods and services

offered to the public at the property and to determine whether the property has been made ADA

and FAC compliant. Plaintiff, due to the presence of architectural barriers, was unable to access

the hair salon (Salon 1454) during this visit while utilizing her prescribed walker. Plaintiff and

her daughter recently made an appointment for a haircut and color at Salon 1454 scheduled for

January 19, 2012 at 1:30 p.m.

         8.        Plaintiff has encountered architectural barriers at the subject property which

discriminate against her on the basis of her disability and have endangered her safety. Plaintiff

has suffered and will continue to suffer direct and indirect injury as a result of Defendant's

discrimination until Defendant is compelled to comply with the requirements of the ADA and

FAC. Plaintiff is deterred from and is denied the opportunity to participate and benefit from the

goods, services, privileges, advantages, facilities and accommodations at Defendant's property

equal to that afforded to other individuals.

         9.        Defendant operates a place of public accommodation as defmed by the ADA and

the regulations implementing the ADA, 28 C.F.R. 36.201(a) and 36.104. Defendant is

responsible for complying with the obligations of the ADA. The place of public accommodation

that Defendant operates consists of the common areas providing parking spaces and essential

access to each of the commercial condominium unit owners.

         10.       Plaintiff has a realistic, credible, existing and continuing threat of discrimination

from the Defendant's noncompliance with the ADA and FAC with respect to the subject property

as described but not necessarily limited to the allegations in paragraph 12 of this Amended

Complaint. Plaintiff has reasonable grounds to believe that she will continue to be subjected to



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discrimination in violation of the ADA by Defendant and its related unit owners. By way of

example, shortly after her hair appointment was scheduled with the hair salon owner, and after

counsel for Plaintiff informed Association counsel that Ms. Osborne had an appointment at the

hair salon, the hair salon owner, Joyce Hunter, abruptly cancelled the appointment for no credible

reason. Plaintiff desires to visit the property at issue not only to avail herself of the goods and

services available at the property but to assure herself that this property is in compliance with the

ADA and FAC so that she and others similarly situated will have full and equal enjoyment of the

property without fear of discrimination.

         11.       Defendant has discriminated against Plaintiff by denying her access to, and full

and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

accommodations of the subject property as prohibited by 42 U.S.C. §12182, et. seq.

         12.       Defendant has discriminated and is continuing to discriminate against the Plaintiff

in violation of the ADA and FAC by failing to, inter alia, have accessible facilities by

January 26, 1992 (or January 26, 1993, if Defendant has ten or fewer employees and gross

receipts of $500,000.00 or less). A preliminary inspection of Defendant's property has shown

that violations exist. The Association has failed to remove architectural barriers in the common

areas it operates and manages leading to the following ADA violations:

                                    Common Area ADA Violations
         (a)       There are zero accessible parking spaces among the thirty-two (32) striped

parking spots in the common area maintained and operated by the Association for two (2)

decades since the original passage of the ADA. The parking lot is required to have a minimum

of two (2) accessible parking stalls meeting ADA and FAC requirements.




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         (b)       There is not an accessible route from the parking lot to the entrances of the

various commercial condominium units. In violation of ADAAG 4.1.2.1, the only routes to the

building entrances are by vehicle route.

         (c)       There is a change of level exceeding one-quarter (1/4) inch from the asphalt to the

existing facility entrance in violation of ADAAG 4.5.2.

         (d)       There is not a continuous accessible route of travel from one end of the

commercial office building to the other in violation of ADAAG 4.1, 4.3.

         (e)       The inadequate curb ramps provided have slopes exceeding 1:12 maximum in

violation of ADAAG 4.8.2.

         (f)       The flared sides of the curb ramps exceed 1:10 in violation of ADAAG 4.7.

         (g)       There is not at least one (1) accessible route complying with ADAAG 4.3, which

is to be provided within the boundary of the site from public transportation stops which are

provided in public streets or sidewalks, to an accessible building entrance in violation of

ADAAG 4.1.2.1.

         13.       The Association is responsible for operating and maintaining the real property

where each of the foregoing ADA violations exists. No single unit owner has responsibility for

operation and maintenance of the common areas including the parking lot and the Association is

the only entity and public accommodation responsible for maintaining and operating the entirety

of the common areas at the commercial condominium development.


         14.       The primary duty of the Association (Le operating and maintaining common areas

for the related unit owners) relates to providing facilities to the general public including the

disabled public.




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         15.       The discriminatory violations described in paragraph 12 above are not an

exclusive list of the Defendant's ADA and FAC violations. Additional examples of ADA

violations may be included in Plaintiff's expert report. Plaintiff, and all the other individuals

similarly situated, have been denied access to, and have been denied the benefits of services,

programs and activities of the Defendant's buildings and its facilities, and have otherwise been

discriminated against and damaged by Defendant because of Defendant's ADA and FAC

violations as set forth above. Plaintiff and all other similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the ADA and FAC

as requested herein.

         16.       Defendant has discriminated against Plaintiff by denying her access to full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

of its place of public accommodation or commercial facility in violation of 42 U.S.C. §12181, et.

seq., and 28 C.F.R. 36.302, et. seq. Furthermore, Defendant continues to discriminate against the

Plaintiff and all those similarly situated by failing to make reasonable modifications in policies,

practices or procedures when such modifications are necessary to afford all offered goods,

services, facilities, privileges, advantages or combinations to individuals with disabilities and by

failing to take such efforts that may be necessary to ensure that no individual with a disability is

excluded, denied services, segregated or otherwise treated differently than other individuals

because of the absence of auxiliary aids and services.

         17.       Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Plaintiff has retained the undersigned counsel and is entitled to recover attorney's fees, costs and

litigation expenses from Defendant pursuant to 42 U.S.C. §12205 and 28 C.F.R. 36.505.




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         18.       Defendant is required to remove the existing architectural barriers to the

physically disabled when such removal is readily achievable for its place of public

accommodation that has existed prior to January 26, 1992, 28 C.F.R. 36.304(a); in the

alternative, if there has been an alteration to Defendant's place of accommodation since

January 26, 1992, then the Defendant is required to ensure to the maximum extent feasible, that

the altered portions of the facility are readily accessible to and usable by individuals with

disabilities, including individuals who use wheelchairs. See 28 C.F.R. 36.402.

         19.       Notice to Defendant is not required as a result of the Defendant's failure to cure

the violations by January 26, 1992 (or January 26, 1993, if Defendant has ten or fewer

employees and gross receipts of $500,000.00 or less). All other conditions precedent have been

met by Plaintiff or waived by Defendant.

         20.       Pursuant to 42 U.S.C. §12188, this Court is provided with authority to grant

Plaintiff Injunctive Relief, including an Order to require Defendant to alter its commercial

property to make those facilities readily accessible and usable to the Plaintiff and all other

persons with disabilities as defmed by the ADA; or by closing the facility until such time as the

Defendant cures its violations of the ADA.

         WHEREFORE, Plaintiff respectfully requests:

         (a)       The Court issue a Declaratory Judgment that determines that Defendant at the

commencement of the subject lawsuit is in violation of Title III of the Americans with

Disabilities Act, 42 U.S.C. §12181, et. seq., and FAC.

         (b)       Injunctive Relief against the Defendant, including an Order to make all readily

achievable alterations to the facility; or to make such facility readily accessible to and usable by

individuals with disabilities to the extent required by the ADA and FAC and to require the



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Defendant to make reasonable modifications and policies, practices or procedures when such

modifications are necessary to afford all offered goods, services, facilities, privileges, advantages

or combinations to individuals with disabilities and by taking such steps that may be necessary to

ensure that no individual with a disability is excluded, denied services, segregated or otherwise

treated differently than any other individuals because of the absence of auxiliary aids and

services.

         (c)       An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

§12205.

         (d)       Such other relief as the Court deems just and proper, and/or is allowable under

Title III of the Americans with Disabilities Act.

         Respectfully submitted,


                                                        /s/ Michael R. Gibbons
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                                                        Attorneys for Plaintiff Arlene T. Osborne


                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 18, 2012, I electronically filed the foregoing with
the Clerk of the Court pursuant to the Administrative Procedures for Electronic Filing in Civil
and Criminal Cases of the Middle District of Florida using the CM/ECF system, which will send
a notice of electronic filing to all counsel of record who have registered to receive notices from
the Court under the CM/ECF system.

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